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                                UNITED STATES DISTRICT COURT
                                      District of Nevada


UNITED STATES OF AMERICA,            )              Case No. 2:18-CR-00301-APG-VCF-2
Plaintiff,                           )
                                     )
       v.                            )                       PETITION FOR ACTION
                                     )                       ON CONDITIONS OF
NOSA FRANK OBAYANDO                  )                       PRETRIAL RELEASE
Defendant                            )

       Attached hereto and expressly incorporated herein is a Petition for Action on Conditions

of Pretrial Release concerning the above-named defendant prepared by Emily McKillip, U. S.

Pretrial Services Officer. I have reviewed that Petition and believe there is sufficient credible

evidence which can be presented to the Court to prove the conduct alleged, and I concur in the

recommended action requested of the Court.


    Dated this 2nd day of October, 2020.

                                                           NICHOLAS A. TRUTANICH
                                                           United States Attorney

                                                           By     /S/                       .
                                                                SIMON KUNG
                                                                Assistant U. S. Attorney
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PS 8
(Revised 12/04)



                                  UNITED STATES DISTRICT COURT
                                             for the
                                      DISTRICT OF NEVADA

U.S.A. vs. NOSA FRANK OBAYANDO                                Docket No. 2:18-cr-00301-APG-VCF-2

                         Petition for Action on Conditions of Pretrial Release

       COMES NOW EMILY McKILLIP, U.S. PRETRIAL SERVICES OFFICER, presenting an official
report upon the conduct of defendant Nosa Frank Obayando. The defendant initially appeared
on March 28, 2018, before U.S. Magistrate Judge Cam Ferenbach and was ordered released on a
personal recognizance bond pending his detention hearing, with the following conditions of
release:

      1.  The defendant shall report to U.S. Pretrial Services for supervision.
      2.  The defendant shall use his/her true name only and shall not use any false identifiers.
      3.  The defendant shall not possess or use false or fraudulent access devices.
      4.  The defendant shall surrender any passport and/or passport card to U.S. Pretrial Services
          or the supervising officer.
      5. The defendant shall not obtain a passport or passport card.
      6. The defendant shall abide by the following restrictions on personal association, place of
          abode, or travel: Travel is restricted to Clark County, Nevada.
      7. The defendant shall maintain residence at a halfway house or community corrections
          center as Pretrial Services or the supervising officer considers necessary. Defendant is on
          lockdown status pending the status conference/detention hearing.
      8. The defendant shall maintain or actively seek lawful and verifiable employment and notify
          Pretrial Services or the supervising officer prior to any change.
      9. The defendant shall avoid all contact directly or indirectly with co-defendant(s) unless it
          is in the presence of counsel.
      10. The defendant shall submit to any testing required by Pretrial Services or the supervising
          officer to determine whether the defendant is using a prohibited substance. Any testing
          may be used with random frequency and may include urine testing, the wearing of a
          sweat patch, a remote alcohol testing system and/or any form of prohibited substance
          screening or testing. The defendant shall refrain from obstructing or attempting to
          obstruct or tamper, in any fashion, with the efficiency and accuracy of any prohibited
          substance testing or monitoring which is/are required as a condition of release.
      11. The defendant shall pay all or part of the cost of the testing program based upon his/her
          ability to pay as Pretrial Services or the supervising officer determines.
      12. The defendant shall refrain from use or unlawful possession of a narcotic drug or other
          controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
          practitioner.
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   13. The defendant shall not be in the presence of anyone using or possessing a narcotic drug
       or other controlled substances.
   14. The defendant shall not violate federal, state, or local law.

On April 3, 2018, the defendant appeared before Judge Ferenbach for a status
conference/detention hearing, and he was continued released on a personal recognizance bond
subject to the above-listed conditions with the following condition removed:
   1. The defendant shall maintain residence at a halfway house or community corrections
      center as Pretrial Services or the supervising officer considers necessary. Defendant is on
      lockdown status pending the status conference/detention hearing.

And the following condition added:
   1. The defendant shall maintain residence with his brother and may not move prior to
      obtaining permission from the Court, Pretrial Services or the supervising officer.

Respectfully presenting petition for action of Court and for cause as follows:

   1. On July 30, 2020, the defendant was cited for Battery by the Las Vegas Metropolitan
      Police Department.
   2. The defendant failed to report this law enforcement contact to his officer, and was
      untruthful when asked if he had any contact with law enforcement.
   3. The defendant has failed to call the phone reporting system on the following dates:
      November 7, 2019; November 28, 2019; December 5, 2019; March 26, 2020; April 2, 2020;
      May 7, 2020; July 2, 2020; August 6, 2020; August 27, 2020; September 3, 2020;
      September 24, 2020; and October 1, 2020.
   4. The defendant failed to report for a random drug test on June 22, 2020.

PRAYING THAT THE COURT WILL ORDER A SUMMONS BE ISSUED BASED UPON THE
INFORMATION OUTLINED ABOVE. FURTHER, THAT A HEARING BE HELD TO SHOW CAUSE WHY
PRETRIAL RELEASE SHOULD NOT BE REVOKED.

 ORDER OF COURT                                   I declare under penalty of perjury that the
                                   2nd            information herein is true and correct.
 Considered and ordered this __day of             Executed on this 2nd day of October, 2020.
 October, 2020 and ordered filed and made a
 part of the records in the above case.           Respectfully Submitted,



 ______________________________                   _____________________________
 Honorable Cam Ferenbach                          Emily McKillip
 U.S. Magistrate Judge                            U.S. Pretrial Services Officer
                                                  Place: Las Vegas, Nevada
